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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:18−cr−00024
                                                           Honorable John J. Tharp Jr.
Jiongsheng "Jim" Zhao
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 1, 2019:


        MINUTE entry before the Honorable John J. Tharp, Jr as to Jiongsheng "Jim"
Zhao: The second agreed motion to continue dates for sentencing and versions of the
offense [57] is granted in part. No appearance on the motion is required. The government
shall provide its version of the offense to the probation office by 9/9/19; defendant shall
provide his version of the offense, if any, to the probation office by 9/16/19; and the
sentencing in this matter is reset to 12/17/19 at 10:00 a.m. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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